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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,                                 )
                                                       )
                              Plaintiff,               )   Civil Action No. 1:17-cv-11008-MLW
                                                       )
                       v.                              )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.,                                         )
                                                       )
                              Defendants.              )
                                                       )
                                                       )

          JANSSEN’S MOTION FOR SUMMARY JUDGMENT ON THE ISSUE
                     OF NON-INFRINGING ALTERNATIVES


       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Plaintiff Janssen

Biotech, Inc. (“Janssen”) hereby moves for summary judgment on the issue of non-infringing

alternatives. Defendants have failed to raise a genuine issue of material fact on the issue of

whether an acceptable non-infringing alternative was available as of the date of first

infringement. Because, on the undisputed facts, Defendants cannot show that an acceptable non-

infringing alternative was available on the date of first infringement, the Court should grant

summary judgment on that issue. Janssen relies on the accompanying memorandum of law,

statement of undisputed facts, the attached exhibits, as well as such other written and oral

argument as may be presented to the Court.
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Respectfully Submitted,

Dated: May 4, 2018


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                              REQUEST FOR ORAL ARGUMENT

       Pursuant to L.R. 7.1(d), Janssen respectfully requests oral argument.

                                 L.R. 7.1(a)(2) CERTIFICATION

       I hereby certify that Janssen’s counsel conferred with Defendants’ counsel and attempted
in good faith to resolve or narrow the issues in this motion; Defendants will oppose this Motion.

                                                            /s/ Aron Fischer
                                                            Aron Fischer

                                  CERTIFICATE OF SERVICE

        I certify that on May 4, 2018, this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing and if not so registered, that copies will be electronically mailed to
such parties or their counsel.

                                                            /s/ Alison C. Casey
                                                            Alison C. Casey




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